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                                                      Exhibit 26
                       Designations of Deposition Testimony of Sean Opperman (July 13, 2022)


             Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                             Objections
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       42:21                   43:11
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       47:8                    49:20
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       74:16                   74:22
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             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
      105:21                  105:24
       144:6                  144:20
      145:13                  147:18
      154:23                   155:6
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